:’:01*3-/;§) Case 2:OO-cr-20183-.]PI\/| Document 20 Filed 09/02/05 Page 10f2 Page|D 28
€V.

  
 

 

UNITED STATES DISTRlCT COURT _ :' /’
for r-'n_ao ny _LQ,__.;_ D'c_
WESTERN DISTRICT OF TENNESSEE 05 3
WESTERN DIvIsIoN EP `2 PH 5: 2;
U.S.A. vs. MAR'I`IN BERLANSTEIN Docket No.
. y ’RT
Petition on Probation and Supervised Release l "" l ":l°

COMES NOW MARNIE KLYMAN PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Martin Berlanstein who was placed on supervision by the Honorable Julia
Smith Gibbons sitting in the Court at Memphis, TN on the M day of l\/iarcl_il 2001, who fixed the period of

supervision at three 131 years*, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Special Conditions and terms as follows:

The defendant shall undergo psychological counseling as directed by the Probation OfEce.

The defendant shall discuss his financial situation on a regular basis with his Probation 0fficer.

The defendant shall obtain full time employment

The defendant is prohibited from participation in any gambling activity, and is not to be employed in the
gambling industry.

5. The defendant shall pay restitution in the amount of $1 12,915.86, as directed by the Probation OHicer and
shall not attempt to discharge restitution through Bankruptcy proceedings or obtain a payment at less than
full value. (Balanoe: $110,155.86)

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* Term of Supervised Release began September 5, 2002, in the District of Maryland (Baltirnore).
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Pursuant to Marci Rapp, United States Probation Officer, District of Maryland (Baltirnore) who has been responsible
for the supervision of Mr. Berlanstein, he will be unable to satisfy his outstanding restitution balance prior to his
expiration date. Mr. Berlanstein has made a good faith effort to satisfy the Court’s order by making consistent
monthly payments in the amount of $110.00. Mr. Berlanstein has signed a payment agreement with the U. S.
Attorney’s Financial Litigation Unit wherein he agrees to continue to pay $110.00 per month toward his debt until
such debt is paid in full.

PRAYING THAT THE COURT WILL ORDER that Martin Berlanstein’s supervision terminate as scheduled
on September 4, 2005, with the understanding that the United States Attomey’s Oiiice will be responsible for the
continued collection of the restitution

 

ORDER OF COURT Respectfully,
Considered and ordered this .2?\ day
Of Y__;)aii. , mfg and ordered filed and Mamie Kiyman
made a part_ pf the records ` the above case. United States Probation Ofl‘icer
f §l/',;’_A-{Lt §
//'>iv" d \`m €\“ A Place Memphis. Tennessee

 

 

§ Unit'ed States District Judge

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Date September 2, 2005

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UNITED sTATE DRISTIC COUR - W"'RTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:00-CR-20183 was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

